      Completion of this section is requested but not required to apply for a driver's license or ID Card. (Virginia Code §2.2-3806)
                                           INFORMATION FOR THE DEPARTMENT OF ELECTIONS
Mail In / OMV Connect Only - Are you a citizen of the United States Mail In / OMV Connect Only - Do you want to register to vote or change
of America?                                                                                                                             your voter registration address?
    YES (INITIAL BOX)I                                                   NO (INITIAL BOX) I                                                  YES (INITIAL BOX)I                                                  NO (INITIAL BOX) I
                                                               I                                                                   I                                                                   I                                                               I
                                                                          INFORMATION FOR THE VIRGINIA TRANSPLANT COUNCIL
                                                                        D Yes, I would like to become an organ, eye and tissue donor.
                                                                                                                                                                                                                                                 DL 1P (07/01/2024)
                                                  DRIVER'S LICENSE AND IDENTIFICATION CARD APPLICATION
Virginia Department of Motor Vehicles
Post Office Box 27412
Richmond, Virginia 23269-0001
www.dmv.virginia.gov

Purpose:      Use this form to apply for a driver's license, learner's permit, or identification card.
Instructions: Submit completed application to any DMV Customer Center. Complete front and back of this application.
                                                                       APPLICATION TYPE
REAL ID: ID requirements for domestic air travel and access to secure federal facilities change May 7, 2025. A REAL ID meets these requirements .
Would you like to apply for a REAL ID license/identification card? (Not applicable if applying for a Motorcycle Learner's Permit)
        □       Yes - I would like to use my license/identification card as ID to board a domestic flight or enter a secure federal facility or military base on or after May
                7, 2025. View the documents you'll need at dmvNOW.com/REALID or ask for a brochure.
        □        No - I acknowledge my license/identification card will display "Federal Limits Apply" and I will need another form of ID to board a domestic flight or enter
                 a secure federal facility or military base on or after May 7, 2025.
 □ Driver's License                                                                                    □ Motorcycle Learner's Permit (classification not applicable)                                                 □ Identification (ID) Card
                                                                                                              Driver's License with School Bus Endorsement
 □ Learner's Permit .and. Driver's License                                                             □      (to carry less than 16 passengers)                                                                     □ Hearing Impaired ID Card
        Driver's License with Motorcycle
 □      (complete Motorcycle Classification section below)                                             □ Driver's License Testing for Foreign Diplomats                                                              □ Emancipated Minor ID Card
        Motorcycle Only License (complete Motorcycle
 □ Classification section below)                                                                       *Commercial Driver's License (CDL) applicants must complete the CDL Application (DL2P)

Motorcycle Classification
 □ Maintaining current Virginia Motorcycle Classification
 D Add, Upgrade or Transfer Motorcycle Classification or obtain Motorcycle Only License. Additional testing may be required . Check applicable box below.
        □        M2 (2 wheels)                                 □ M 3 (3 wheels)                                              □ M(both 2 and 3 wheels)
Replacement License or Identification Card (check one of the following):  D I am surrendering my current license or ID card.
I certify I cannot surrender my current license or ID card because it is: D Lost □ Stolen D Destroyed
                                                                                                           APPLICANT INFORMATION
       NOTE:   YOUR ADDRESS BELOW MUST BE CURRENT. THE U.S. POSTAL SERVICE WILL NOT FORWARD YOUR LICENSE OR ID CARD.
FULL LEGAL NAME (last, first, middle, suffix)                               I SOCIAL SECURITY NUMBER (SSN)   I HAVE NOT BEEN
                                                                                                           □ ISSUED ASSN.
BIRTHDATE (mm/dd/yyyy)                        PHONE NUMBER (optional) ISEX (check one)              I WEIGHT                                                                              HEIGHT                            EYECOLOR               I HAIR COLOR
                                          I                            0 MALE O FEMALE O NON-BINARY                                                                                   I                                 I
                                                                                                                                                                             LBS.              FT.             IN.
STREET ADDRESS                                                                                                                          CITY                                                                STATE                    ZIP CODE

MAILING ADDRESS (if different from above - this will show on your license/permiUID)                                                     CITY                                                                STATE                    ZIP CODE

IF YOUR NAME HAS CHANGED, PRINT YOUR FORMER IEMAIL ADDRESS (optional)                                                                                    NAME OF CITY OR COUNTY OF RESIDENCE
NAME HERE                                                                                                                                                               I
                                                                                                                                                         0 CITY O COUNTY OF
1. Do you wear glasses or contact lenses to operate a motor vehicle? . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . □ YES   □ NO
2. Do you have a physical or mental condition/impairment which requires that you take medication? If yes, please list the condition(s) and the name of
                                                                                                                                                                                                                                                        □ YES   □ NO
    the medication(s) .................................................................................................................................................
3. Have you ever had a seizure, blackout, or loss of consciousness? ............................................................................................ □ YES                                                                                          □ NO
4. Do you have a physical condition/impainment which requires you to use special equipment to drive? ....................................................... □ YES                                                                                              □ NO
5. Has your license or privilege to drive ever been suspended, revoked , or disqualified in this state or elsewhere? (NOTE: You do not need to disclose if
                                                                                                                                                                                                                                                        □ YES   □ NO
    your suspension, revocation or disqualification is due to a criminal conviction that has been expunged, or not subject to public disclosure.) ............
If you answered YES to any of the above provide an explanation here.

Do you currently hold or have you ever held a: (check all that apply)        D Driver's License                                                          0 ID Card         D Learner's Permit 0 CDL
If so, provide the following : I LICENSE/ID CARD NUMBER             I ISSUE DATE (mm/dd/yyyy)                                                                   I EXPIRATION DATE (mm/dd/yyyy) I STATE/COUNTRY



                                                                           FOR OMV USE ONLY -                               DO NOT WRITE BELOW THIS LINE
 REQUIRED TESTS                     PASS             FAIL          CUSTOMER NUMBER                                                                              TRANSACTION TYPE                                                     FEE
VISION



                                                                   □□□□□□□□□
                                                                                                                                                                   □ ORIGINAL                              □ REISSUE
DL ROAD SIGNS EXAM
DL KNOWLEDGE EXAM                                                                                                                                                  □ DUPLICATE                             □ RENEWAL
DL SKILLS
MC KNOWLEDGE
                                                                   CSR SIGNATURE                                                                                                                           CSRLOGON ID
MC SKILLS M2
MC SKILLS M3
                                                                                                                                                            DL 1P (07/01/2024) Page 2 of 2
                                                                     OPTIONAL SPECIAL INDICATORS
OPTIONAL - Select relevant indicators below to show on your license, permit or ID card.
MEDICAL INDICATORS
D Insulin-dependent diabetic*          D Speech impairment*                     D Hearing impairment*                                        D Traumatic brain injury (DL 145
                                                                                                                                               required for license or permit. A
□ Autism spectrum disorder (ASD)*        D Blind or vision impairment (ID card D Intellectual disability (lntD)*                               physician statement required for
                                             only}*                                                                                            ID card.)
* Must submit required physician statement
VETERAN INDICATOR
D Add or keep the veteran indicator on my driver's license or identification card. D Remove the veteran indicator on my driver's license or identification card .
You must complete a Virginia Veteran Military Service Certification (DL 11) form and provide an acceptable veteran service proof document to add the veteran
indicator, unless vou have alreadv done so.
BLOOD TYPE INDICATOR
D Add or keep my blood type on my driver's license or ID card.                     D Remove my blood type from my driver's license or ID card.
   Select one: D A+        DB+       □ AB+ DO+
                 □ A-      □ B-      □ AB- □ o-
The blood type designation displayed on a Virginia OMV issued credential shall not create any liability on the part of the Commonwealth of Virginia. Any person or
entity that takes action based on the blood type designation displayed shall indemnify and hold harmless the Commonwealth of Virginia pursuant to Va Code §§
46.2-342, 46.2-345, 46.2-345.2, and 46.2-345.3.
                                                               PARENT OR LEGAL GUARDIAN CONSENT
                                  Check applicable box, review certification statement, print your name and sign where indicated.
 D I authorize issuance of a learner's permit/driver's license. I certify that the applicant is a resident of Virginia. I certify that the applicant is
     attending school regularly and is in good academic standing, but if not, I authorize issuance of a learner's permit/driver's license. I certify that this applicant
     will operate a motor vehicle for at least 45 hours (15 of which will occur after sunset) while holding a learner's permit.
     If the applicant attends public school, I authorize the principal or designee of the public school attended by the applicant to notify the juvenile and domestic
     relations district court (within whose jurisdiction the applicant resides) when the applicant has had 10 or more unexcused absences from school on
     consecutive school days.
     If a Special Indicator Request is checked on this application, I request on behalf of the applicant that it be shown on the learner's permit/driver's license.
     I certify that the statements made and the information submitted by me are true and correct.
 D I authorize issuance of an ID card. I certify that the applicant is a resident of Virginia. If a Special Indicator Request is checked on this application, I
    request on behalf of the applicant that ii be shown on the identification card.
    I certify that the statements made and the information submitted by me are true and correct.
PARENT/LEGAL GUARDIAN NAME (print)                                         I
                                                                   PARENT/LEGAL GUARDIAN SIGNATURE                                                             IDATE (mm/dd/yyyy)
APPLICANT UNDER AGE 18 Have you ever been found not innocent of any offense in a Juvenile and Domestic Relations Court in this or any other state? D YES D NO
If you answered YES, the court making the adjudication of "not innocent" or a court within the jurisdiction where the juvenile's parent/legal guardian resides must provide court consent
below. COURT CONSENT In my opinion the applicant's request for a learner's permit/driver's license            D should be granted.         D should not be granted.
REMARKS:


JUDGE NAME (print)                                                         IJUDGE SIGNATURE                                                                    IDATE (mm/dd/yyyy)
                                                                               SELECTIVE SERVICE
All males under the age of 26 are required to check one of the following. Failure to provide a response will result in denial of your application.
D I am already registered with Selective Service.
D I am a lawful non-immigrant on a current non-immigrant visa or a seasonal agricultural worker (H-2A Visa) and not required to register.
D I authorize OMV to forward to the Selective Service System personal information necessary to register me with Selective Service.
By signing this application, I consent to be reg istered with Selective Service, if required by federal law. If under age 18, an appropriate adult must complete and
sign below: I authorize OMV to send information to Selective Service which will be used to register applicant when he is 18 years old.
SIGNATURE (check one and sign)                 LJ PARENT/ GUARDIAN             LJ JUDGE, JUVENILE DOMESTIC RELATIONS COURT LJ EMANCIPATED MINOR

                                                      GOVERNMENT EMPLOYEES • (Fee waiver certification)
I certify that I am employed by the: D Commonwealth of Virginia or □ City of D County of D Town of
to operate a motorcycle solely in the course of this employment and, because of such employment, I am entitled to the waiver of the motorcycle class
endorsement fee, provided I have paid for and hold a valid Virginia driver's license or have made application for such.

                                                                                        NOTICE
Va. Code §§46.2-323 and 46.2-342 require that you provide OMV with the information on this form (including your social security number). Your personally
identifiable information is being collected for record keeping purposes and will be disseminated only in accordance with Va. Code §§46.2-208, 46.2-209, and the
Driver's Privacy Protection Act, 18 USC §2721 . Persons convicted of certain sexual offenses (as listed in Va. Code §9.1-902) must register or re-register with the
Virginia Department of State Police as provided in Va. Code §§9.1-901 , 9.1-903, and 9.1-904. If you provide a non-Virginia residence/home address or non-
Virginia mailing address, your application for a driver's license or permit may be denied. Upon issuance of a driver's license, commercial driver's license or
identification card in the Commonwealth of Virginia, any driver's license, commercial driver's license or identification card previously issued by another state must
be surrendered and will be cancelled by the issuing state.

                                                                                  CERTIFICATION
I certify and affirm that I am a resident of Virginia, that all information presented in this application is true and correct, that any documents I have presented to
OMV are genuine, and that my appearance, for purpose of my OMV photograph, is a true and accurate representation of how I generally appear in public. I make
this certification and affirmation under penalty of perjury and understand that making a false statement on this application is a criminal violation. By signing this
form, I authorize OMV to verify the information provided on this application, as required to determine eligibility.
APPLICANT NAME (print)                                                     I
                                                                         APPLICANT SIGNATURE                                                            I
                                                                                                                                             DATE (mm/dd/yyyy)
      Completion of this section is requested but not required to apply for a driver's license or ID Card. (Virginia Code §2.2-3806)
                                           INFORMATION FOR THE DEPARTMENT OF ELECTIONS
Mail In / OMV Connect Only - Are you a citizen of the United States Mail In / OMV Connect Only - Do you want to reg ister to vote or change
of America?                                                                                                                                                                   your voter registration address?
      YES (INITIAL BOX)I                                                         I            NO (INITIAL BOX) I                                                        I            YES (INITIAL BOX)I                                                         I            NO (INITIAL BOX) I                                       I
                                                                                                INFORMATION FOR THE VIRGINIA TRANSPLANT COUNCIL
                                                                                            D         Yes, I would like to become an organ , eye and tissue donor.

Virginia Department of Motor Vehicles
                                                                                                                                                                                                                                                                                                                     DL 2P (07/01/2024)
Post Office Box 27412
Richmond, Virginia 23269-0001                                                COMMERCIAL DRIVER'S LICENSE (CDL) APPLICATION
www.dmv.virginia.gov

Purpose:                        Use this form to apply for a commercial driver's license or commercial learner's permit.
Instructions: Submit completed application to any DMV Customer Center. Complete front and back of this application.
                                                                    APPLICATION TYPE
REAL ID: ID requirements for domestic air travel and access to secure federal facilities change May 7, 2025. A REAL ID meets these requirements .
Would you like to apply for a REAL ID license? (Not applicable if applying for a Motorcycle Learner's Permit)
           □ Yes - I would like to use my license as ID to board a domestic flight or enter a secure federal facility or military base on or after May 7, 2025. View the
                    documents you'll need at https://www.dmv.virginia.gov/licenses-ids/real-id or ask for a brochure.
                    No - I acknowledge my license will display "Federal Limits Apply" and I will need another form of ID to board a domestic flight or enter a secure federal
           □ facility or military base on or after May 7, 2025.
D Commercial Driver's License (CDL)                   ID Commercial Learner's Permit (CLP)                ID Motorcycle License (indicate class below)
Check ONE if applicable: D Motorcycle Learner's Permit D "M" class (2 and 3 wheels)               D "M2" class (2 wheels) D "M3" class (3 wheels)
□  Replacement      License (also check ONE):   D  I am surrendering my   current license/permit.
      I certify I cannot surrender my current license/permit because it is: 0 LOST         0 STOLEN 0 DESTROYED
                                                              Add Endorsement(s)                                                                                                                                                         Remove Endorsement(s)
  D H - Hazardous Materials                                                              □        :; -:school Bus
                                                                                                  (16 or more passengers)                                                       □ H - Hazardous Materials
                                                                                                                                                                                                                                                                        □        :; -:school Bus
                                                                                                                                                                                                                                                                                 (16 or more passengers)
  0 N-Tank                                                                               D        T - Double/Triple Trailer                                                     □ N - Tank                                                                              D        T - Double/Triple Trailer
  D P - Passenger Carrying Vehicle                                                                                                                                              D P - Passenger Carrying Vehicle
           (16 or more passemiers)                                                       □        X - Tank and Hazardous Materials
                                                                                                                                                                                  (16 or more passemiers)                                                               □ X- Tank and Hazardous Materials

                                                                                                                                         APPLICANT INFORMATION
             NOTE:       YOUR ADDRESS BELOW MUST BE CURRENT. THE U.S. POSTAL SERVICE WILL NOT FORWARD YOUR LICENSE.
FULL LEGAL NAME (last, first, middle, suffix)                                     I SOCIAL SECURITY NUMBER (SSN) I □ I HAVE NOT BEEN
                                                                                                                     ISSUED ASSN.
BIRTHDATE (mm/dd/yyyy) I PHONE NUMBER (optional) ISEX (check one)              IWEIGHT                                                                                                                                                   HEIGHT                                      EYECOLOR                        I HAIR COLOR
                                                  0 MALE O FEMALE O NON-BINARY                                                                                                                                                       I                                           I
                                                                                                                                                                                                                           LBS.               FT.                        IN.
STREET ADDRESS                                                                                                                                                APT NO.                         CITY                                                         STATE                      ZIP CODE

IF YOUR NAME HAS CHANGED, PRINT YOUR FORMER NAME HERE                                                                                                                                    NAME OF CITY OR COUNTY OF RESIDENCE
                                                                                                                                                                                     I
                                                                                                                                                                                         0 CITY O COUNTY OF
MAILING ADDRESS (if different from above - this address will show on your license/permit)                                                                                           APT NO.                        CITY                                                         STATE                      ZIP CODE

EMAIL ADDRESS (optional)

1. Do you wear glasses or contact lenses to operate a motor vehicle? ...........................................................................................                                                                                                                                                     □ YES □ NO
2. Do you have a physical or mental condition/impairment which requires that you take medication? If yes, please list the condition(s) and the name of
   the medication(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . .   □ YES □ NO
3. Have you ever had a seizure, blackout, or loss of consciousness? . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . .                                                             □ YES □ NO
4. Do you have a physical condition/impairment which requires you to use special equipment to drive? . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . .                                                                                                     □ YES □ NO
5. Has your license or privilege to drive ever been suspended, revoked , or disqualified in this state or elsewhere? (NOTE: You do not need to disclose if
   your suspension, revocation or disqualification is due to a criminal conviction that has been expunged, or not subject to public disclosure.) . . . . . . . .. . . .                                                                                                                                              □ YES □ NO

If you answered YES to any of the above provide an explanation here.


                                                                                                 FOR DMV USE ONLY -                                             DO NOT WRITE BELOW THIS LINE
       REQUIRED TESTS                                       PASS                      FAIL                                   REQUIRED TESTS                                       PASS                      FAIL                                            REQUIRED TESTS                                       PASS          FAIL

                                        VISION                                                                                                    SCHOOL BUS                                                                                                               DOUBLE/TRIPLE

 CDL GENERAL KNOWLEDGE                                                                                                                             PASSENGER                                                                                          MOTORCYCLE KNOWLEDGE

                          COMBINATION                                                                                                                      TANKER                                                                                          MOTORCYCLE SKILLS M2

                             AIR BRAKES                                                                                                                    HAZMAT                                                                                          MOTORCYCLE SKILLS M3

CUSTOMER NUMBER                                                                                            I TRANSACTION TYPE                                                                                                                            IFEE
□□□□□□□□□                                                                                                        □ ORIGINAL                       □ REISSUE                        □ DUPLICATE                           □ RENEWAL

CSR SIGNATURE                                                                                                                                                                                       CSRLOGON ID
                                                                                                                                                                       DL 2P 107/01/2024\
                                             VEHICLE OPERATION AND ADDITIONAL APPLICANT INFORMATION
I want to be licensed to operate the type of vehicle(s) checked below:
 D   A - Combination vehicle with GVWR or GCWR of 26,001 lbs. or more                                 D C - Any vehicle that does not fit the definition of a Class A or Class B
 D   B - Single vehicle with GVWR of 26,001 lbs. or more, or towing a                                         vehicle and is either used to transport hazardous materials or
                                                                                                              designed to carry 16 or more passengers, including the driver.
         vehicle less than 10,000 lbs. GVWR.
BRAKES                         □ Full Air Brakes                                □ No Air Brakes (L restriction)                   D    Air Over Hydraulic Brakes (Z restriction)
TRANSMISSION                   □ Automatic Only (E restriction)                 □ Manual (includes automatic)
 Have you been issued any license or ID Card in Virginia or another jurisdiction within the past 10 years?       D Yes        0      No
 If yes, identify any jurisdiction(s) in which you held a license or ID Card. Use the Supplemental Driver's Licensing History Sheet, form DL 2PA if additional space is needed.
                                                          List all driver licenses issued to you during the past 10 years.
                     JURISDICTION                                 LICENSE NUMBER                            LICENSE ISSUE DATE                       LICENSE EXPIRATION DATE

 1.
 2.
 3.
 4.
PLACE OF DOMICILE - Your place of domicile may or may not be the same as your place of residence. Your place of residence is where you currently live and
your place of domicile is where your true, fixed and permanent home and principal residence is and to which you intend to return whenever you are absent. My
place of domicile is:
 Dvirginia                                                                          D Another U.S. state/territory or Canada/Mexico (not eligible - must apply in
                                                                                      place of domicile)
 D Outside of Virginia/Active Duty U.S. Military                                    DA country other than the U.S. (unexpired EAD or foreign passport and 1-94
     (Active Duty Common Access Card (CAC) Required)                                  required for a non-domiciled CLP/CDL)
                          INTERSTATE DRIVER                                                   INTRASTATE DRIVER (K restriction)
                           D NON-EXCEPTED - I meet the qualification requirements              D NON-EXCEPTED - I meet the qualification requirements
(Check the box for the         under 49 CFR Part 391 of the Federal Motor Carrier Safety           under Title 19 § 30-20-80 of the VA Administrative Code.
                               Regulations. (Medical examiner's certificate required)              (Medical examiner's certificate required)
qualification category
that applies)              D EXCEPTED - I am exempt from the qualification                     D EXCEPTED - I am exempt from the qualification
                               requirements under 49 CFR Part 391 of the Federal Motor             requirements under Title 19 § 30-20-80 of the VA
                               Carrier Safety Regulations. (No medical examiner's                  Administrative Code. (No medical examiner's certificate or
                               certificate required)                                               state-approved letter required)

                                                       GOVERNMENT EMPLOYEES • (Fee waiver certification)
I certify that I am employed by the: D Commonwealth of Virginia or D City of D County of D Town of
to operate a motorcycle or commercial motor vehicle solely in the course of this employment and, because of such employment, I am entitled to the waiver of the
motorcycle class and/or commercial motor vehicle endorsement fee, provided I have paid for and hold a valid Virginia driver's license or have made application
for such.

                                                                               SELECTIVE SERVICE
All males under the age of 26 are required to check one of the following. Failure to provide a response will result in denial of your application.
D I am already registered with Selective Service.
D I am a lawful non-immigrant on a current non-immigrant visa or a seasonal agricultural worker (H-2A Visa) and not required to register.
D I authorize DMV to forward to the Selective Service System personal information necessary to register me with Selective Service.
By signing this application, I consent to be registered with Selective Service, if required by federal law.

                                                                      OPTIONAL SPECIAL INDICATORS
VETERAN INDICATOR
D Add or keep the veteran indicator on my commercial driver's license/permit.                 D Remove the veteran indicator on my commercial driver's license/permit.
You must complete a Virginia Veteran Military Service Certification (DL 11) form and provide an acceptable veteran service proof document to add the veteran
indicator, unless vou have alreadv done so.
BLOOD TYPE INDICATOR
D Add or keep my blood type on my commercial driver's license/permit.             D Remove my blood type from my commercial driver's license/permit.
   Select one: D A+        DB+       □ AB+ DO+
                 □ A-      □ B-      □ AB-     □ o-
The blood type designation displayed on a Virginia DMV issued credential shall not create any liability on the part of the Commonwealth of Virginia. Any person or
entity that takes action based on the blood type designation displayed shall indemnify and hold harmless the Commonwealth of Virginia pursuant to Va Code §§
46.2-342, 46.2-345, 46.2-345.2, and 46.2-345.3.
                                                                                        NOTICE
Va. Code §§46.2-323 and 46.2-342 require that you provide DMV with the information on this form (including your social security number). Your personally
identifiable information is being collected for record keeping purposes and will be disseminated only in accordance with Va. Code §§46.2-208, 46.2-209, and the
Driver's Privacy Protection Act, 18 USC §2721 . Persons convicted of certain sexual offenses (as listed in Va. Code §9.1-902) must register or re-register with the
Virginia Department of State Police as provided in Va. Code §§9.1-901, 9.1-903, and 9.1-904. If you provide a non-Virginia residence/home address or non-
Virginia mailing address, your application for a driver's license or permit may be denied. Upon issuance of a driver's license, commercial driver's license or ID
card in the Commonwealth of Virginia, any driver's license, commercial driver's license or ID card previously issued by another state must be surrendered and will
be cancelled by the issuing state.

                                                                                  CERTIFICATION
I certify and affirm that I am a resident of Virginia, that all information presented in this application is true and correct, that any documents I have presented to
DMV are genuine, and that my appearance, for purpose of my DMV photograph , is a true and accurate representation of how I generally appear in public. I make
this certification and affirmation under penalty of perjury and understand that knowingly making a false statement on this application is a criminal violation. By
signing this form , I authorize DMV to verify the information provided on this application, as required to determine eligibility.
APPLICANT NAME (print)                                                            IAPPLICANT SIGNATURE                                                         IDATE (mm/dd/yyyy)
Are you a citizen of the United States of America?                                        Do you want to register to vote or change your voter registration
             YES          I  I                        NO           I  I                   address?           YES          II                NO            II
          (INITIAL BOX)   L___J                    (INITIAL BOX)   L___J                                  (INITIAL BOX)   L___J           (INITIAL BOX)   L___J

~illDV.                                                                                                                                                   ISO 01 (07/01/2020)
  ww w. dm v N{Jf)/ . com
       Virginia Department of Motor Vehicles
                                                         ADDRESS CHANGE REQUEST
       Post Office Box 27412
       Richmond , Vi rginia 23269-000 1


Purpose:           Use this form to report a change of address to the Virginia Department of Motor Vehicles.
Instructions: Complete this form and submit it to OMV. The Virginia Department of Motor Vehicles is able to capture and store three different addresses
                  (residence, mailing, and vehicle registration). It is very important to OMV that we capture your correct address(es).
                  You may also update your records immediately by changing your address online at www.dmvNOW.com.


                                                                     CUSTOMER INFORMATION
CUSTOMER NUMBER (as it appears on your driver's license or identification card)          ICUSTOMER BIRTH DATE (mm/dd/yyyy)
FULL LEGAL NAME (last, first, middle, suffix)


REASON FOR ADDRESS CHANGE (check one)                                                    IADDRESS FIELD EFFECTIVE DATE (mm/dd/yyyy)
0 MOVED            D CORRECTION (typographical error, new 911 address, etc.)

                                                                   NEW RESIDENCE/HOME ADDRESS
• Enter the address where you actually live. Do not enter a post office box number. Virginia law requires you to provide this address to OMV.
• If you change either your residence/home address or mailing address to a non-Virginia address, your driver's license and/or photo identification (ID) card
  may be canceled.
STREET ADDRESS (no P.O. Box)                                                                                                                  ISTATE        IZIP CODE
                                                                         ICITY

RESIDENCE LOCATION (city or county in which you live)                                    !COUNTRY



                                                                       NEW MAILING ADDRESS
• The address shown on your driver's license may be either a post office box, business or residence address in Virginia.
• If you choose to have a mailing address that is different from your residence address, OMV will send all of your documents to the mailing address.
• If you change your residence/home address or mailing address to a non-Virginia address, your driver's license and/or photo identification (ID) card may be canceled.
MAILING ADDRESS                                                   ICITY                                                                   ISTATE       IZIP CODE



                                                        VEHICLE REGISTRATION MAILING ADDRESS
  • Use this section if you own a vehicle that is not located at your residence address and you want OMV to mail the vehicle registration renewal notice to an
    address different from those recorded above or if you want to notify OMV of a vehicle that is garaged somewhere other than where you live.
  • If you need to change the address of more than two vehicles, use the additional space on the back of this form
-     VEHICLE MAKE                                        I TITLE NUMBER                                     LAST FOUR DIGITS OF VEHICLE IDENTIFICATION
                                                                                                           I NUMBER (VIN)
 ~
 fi MAILING ADDRESS                                                         ICITY                                                             ISTATE        IZIP CODE
 f.
Iii   COUNTRY                                    GARAGE JURISDICTION (city, county, or town where your vehicle is
                                               I located)
                                                                                                                        I DATE VEHICLE FIRST LOCATED HERE (mm/dd/yyyy)


I     VEHICLE MAKE                                             I TITLE NUMBER                                             LAST FOUR DIGITS OF VEHICLE IDENTIFICATION
                                                                                                                        I NUMBER (VIN)




..
 fi MAILING ADDRESS
 f.
 I~   COUNTRY
                                                                            ICITY

                                                 GARAGE JURISDICTION (city, county, or town where your vehicle is
                                               I located)

                                                    To record additional vehicles comolete the reverse side of this form

                                                                             CERTIFICATION
                                                                                                                                              ISTATE        IZIP CODE

                                                                                                                        I DATE VEHICLE FIRST LOCATED HERE (mm/dd/yyyy)




I certify and affirm that all information presented in this form is true and correct, that any documents I have presented to OMV are genuine, and that
the information included in all supporting documentation is true and accurate. I make this certification and affirmation under penalty of perjury and I
understand that knowingly making a false statement or representation on this form is a criminal violation.
SIGNATURE                                                                                                           IDATE (mm/dd/yyyy)   !(DAYTIME)TELEPHONE NUMBER
                                                                                                                         ISO 01 (07/01/2020)

                      ADDITIONAL VEHICLE REGISTRATION MAILING ADDRESS
    VEHICLE MAKE                       TITLE NUMBER                                        LAST FOUR DIGITS OF VEHICLE IDENTIFICATION
                                                                                           NUMBER (VIN)
    MAILING ADDRESS                                CITY                                                          STATE      ZIP CODE


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                      I located)
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  www. dm vNouJ . co m
     Virg inia Departmen t of Motor Vehicles
                                               VOTER REGISTRATION QUESTIONNAIRE
     Post Office Box 27412
     Richmond , Virg inia 23269-000 1



Purpose:                  Use this form if you were unable to complete the voter registration questions electronically on the credit card terminal to
                          determine if a paper voter registration application is needed. Completion of this form is requested but not required to
                          apply for a driver's license or ID card. (Virginia Code §2.2-3806)
Instructions:            Answer the questions below and return this completed form to the customer service representative.


                                                                CUSTOMER INFORMATION
CUSTOMER NAME (print)                                                          CUSTOMER NUMBER




Are you a citizen of the United States of America?                              The information on your application will be used to update your voter
                                                                                registration or register you to vote
           YES
        (INITIAL BOX)
                        D                         NO
                                                (INITIAL BOX)
                                                                D               unless you initial NO to decline.
                                                                                                                              NO
                                                                                                                                     D
                                                                                                                           (INITIAL BOX)
